     Case 2:13-cr-00159-WKW-WC Document 244 Filed 09/23/20 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

 UNITED STATES OF AMERICA                )
                                         )
       v.                                ) CASE NO. 2:13-CR-159-WKW
                                         )             [WO]
 DERRICK GADSDEN                         )

                                    ORDER

      Defendant has filed a motion for compassionate release in which he seeks to

modify an imposed term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).

(Doc. # 223.) Defendant was convicted of one count of conspiracy to commit wire

fraud in violation of 18 U.S.C. § 1349. (Doc. # 158, at 1.) As a result of his

conviction, Defendant was sentenced to a term of 240 months’ imprisonment. (Doc.

# 158, at 2.)

      Upon a thorough review of the record and upon consideration of the 18 U.S.C.

§ 3553(a) factors, the court concludes that Defendant’s motion is due to be denied

for the reasons set out in the Government’s response. (Doc. # 236.) Accordingly, it

is ORDERED that Defendant’s motion for compassionate release (Doc. # 223) is

DENIED.

      DONE this 23rd day of September, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
